                                 Case 1:23-cv-10337-AK Document 1-1 Filed 02/15/23 Page 1 of 1
                                                          Schedule A

Columns
 1         2                     3                  4                       5                 6                7
 Cause                                                                      Date of           Certificate of
 of                              Musical                                    Publication or    Registration     Date of Known
 Action    Plaintiff             Composition        Writers                 Registration      Number           Infringement


 1.       BMG RIGHTS             ONE KISS            Jessica Reyes           April 6, 2018    PA 2-150-084     August 7, 2022
          MANAGEMENT (US)
          LLC d/b/a BMG GOLD                         Dua Lipa
          SONGS
                                                     Adam R. Wiles

 2.       ROC NATION MUSIC LLC   HOT NIGGA (A/K/A       Orlando Tucker       July 25, 2014    PA 1-963-231     August 6, 2022
                                 HOT BOY)
                                                        Ackquille Pollard


 3.       JAE’WONS PUBLISHING    WE GONNA           Jason T. Phillips        March 27, 2001   PA 1-071-504     August 7, 2022
                                 MAKE IT
          PANIRO’S PUBLISHING                       David Styles

                                                    Samuel J. Johnson
